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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                        CONTINUANCE ORDER

       v.                                       Mag. No. 18-1535 (DEA)

JAKIR TAYLOR,
     a/k/a "Jak";
JEROME ROBERfS,
     a/k/ a ''Righteous";
DAVID ANTONIO,
     a/k/ a "Papi,;,
     a/k/a "Victor Arias,"
     a/k/a "Pop,"
     a/k/ a ·~santiago Ramirez";
OMAR COUNCIL,
     a/k/a "Stacks,"
     a/k/a "Y-0,"
     a/k/a "O,"
     a/k/ a "Snow;
BRIAN PHELPS,
     a/k/a "B-Money,"
     a/k/a "B'';
GARY AUSMORE,
     a/k/a "G";
DAVIAS TAYLOR,
     a/k/a "Vicey,"
     a/k/ a "Mitch";
ALONZO LEARY,
     a/k/ a "Buck,"
     a/k/a "J-Buck"
MAJOR.ANDERSON,
     a/k/ a "Maj";
WAYNE K. BUSH;
TACQUES HALL,
     a/k/ a "Btiddha";
KAHLIL HAMPTON,
     a/k/a "Ruger";
BRANDON COUNCIL,
     a/k/ a "BH";
SffAQUEL ROCK,                                                    RECEIVED
     a/k/ a "Shag";
bENNIS CHESTON, JR.,                                                  OCT 2 5 2013
     a/k/a "Beans";                                               AT 8:30             M
                                                                  WILLIAM T WALSH CL:RK
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DONTE ELLIS,
     a/k/a "Shalartt";
TIMOTHY WIMBUSH,
     a/k/ a "You11g Money";
TAQUAN WILLIAMS;
JUBRIWES't;
MALIK BINGHAM,
     a/k/a "Fresh";
DEAVON WARNER,
     a/k/a 'Tug";
JAQUAN WADE;.
QUIANA WELCH,
     a/k/ a "KiKi";
KALEIB COX,
     a/k/a "Lito";
VARLEE KOON; and
LATRICE WHARfON


      This matter having come before the Court on the joint application of

Craig Carpenito, United States Attorney for the District of New Jersey

(by J. Brendan Day and Alexander Ramey, Assistant United States Attorneys), and

defendantJubii West (by Ar,thor>y .Sa'Mo(le·H·J., Esq.), for an order granting a

continuance of the proceedings in the above-captioned matter from tbe date of this

order through January 11, 2019, and the defendartt being aware that he has the

right to have the matter submitted to a grand jury within 30 days of the date of his

arrest pursuartt to Title 18 of the United States Code, Section 3161(b), and the

defendant through his attorney having consented to the continuance, and no prior

continuances having been granted by the Court; and for good and sufficient cause

shown,

      IT IS THE FINDING OF THIS COURT that this action should be continued for

the following reasons:

            1.   Plea negotiations may soon commence, and both the United States

                  and the defendant seek time to achieve a successful resolution of
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                 these negotiations, which would render trial of this matter

                 unnecessary;

            2.   Defendant has consented to the aforementioned continuance;

            3.   The grant of a continuance will likely conserve judicial resources;

                 and

            4.   Pursuant to Title 18 of the United States Code, Section 3161(h)(7),

                 the ends of justice served by granting the continuance outweigh

                 the best interests of the public and the defendant in a speedy trial.

      WHEREFORE, it is on this 25th day of October, 2018,

      ORDERED that the proceedings scheduled in the above-captioned matter are

continued from the dcJ.te of this Order through and including January 11, 2019;

      IT IS FURTHER ORDERED that the period from the date of this Order

through and including January 11, 2019 shall be excludable in computing time

under the Speedy Trial Act of 1974.




                                           HONORABLE DO G
                                           UNITED STATES .1-......a~
Consented and Agreed By:



  a~
A n ~ ~ o n ~ ~ , Esq.
Counsel for Defendant



~e.~
J. Brendan Day
Alexander Ramey
Assistant United States Attorneys
